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 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 MARISSA HARRIS (NYBN 4763025)
   Assistant United States Attorney
 5
   MICHAEL J. SONGER (DCBN 975029)
 6 Trial Attorney, Civil Rights Division

 7           150 Almaden Boulevard, Suite 900
             San Jose, California 95113
 8           Telephone: (408) 535-5061
             FAX: (408) 535-5066
 9           marissa.harris@usdoj.gov
             michael.songer@usdoj.gov
10
     Attorneys for United States of America
11
                                      UNITED STATES DISTRICT COURT
12
                                   NORTHERN DISTRICT OF CALIFORNIA
13
                                              SAN JOSE DIVISION
14
                                                      ) CASE NO. 20-CR-00432 EJD
15   UNITED STATES OF AMERICA,                        )
                                                      ) JOINT TRIAL STIPULATION AND [PROPOSED]
16           Plaintiff,                               ) ORDER
                                                      )
17      v.                                            )
                                                      )
18   OLE HOUGEN,                                      )
                                                      )
19           Defendant.                               )
20           Defendant Ole Hougen and the Government, by and through their respective counsel, stipulate
21 and agree, with the Court’s approval, that the jurors may be provided with the following written

22 information, in lieu of testimony, regarding the forensic examination of the knife recovered from Mr.

23 Hougen on July 5, 2020:

24

25           “The knife recovered from Mr. Hougen was sent to the FBI’s Forensic Laboratory in
26           Quantico, VA. The lab tested the knife for blood and any traceable fingerprints, hair,
27           fibers, or DNA. No evidence of blood was found on the knife. No evidence of traceable
28           fingerprints, hair, fibers, or DNA was found on the knife.”
     TRIAL STIPULATION                                1
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 1 IT IS SO STIPULATED.

 2

 3 DATED: March 28, 2021                                      Respectfully submitted,
 4                                                            STEPHANIE M. HINDS
 5                                                            Acting United States Attorney

 6                                                                       /s/
                                                              MARISSA HARRIS
 7                                                            Assistant United States Attorney
 8                                                            MICHAEL J. SONGER
 9                                                            Trial Attorney, Civil Rights Division

10
                                                              GEOFFREY A. HANSEN
11                                                            Acting Federal Public Defender

12                                                                      /s/
                                                              SEVERA KEITH
13
                                                              TAMARA CREPET
14                                                            Assistant Federal Public Defenders

15

16                                         [PROPOSED] ORDER

17         Upon agreement and stipulation of the defendant Ole Hougen, and the United States, and their

18 respective counsel, IT IS HEREBY ORDERED that the above written information will be provided to
19 the jurors regarding the forensic examination of the knife recovered from defendant Ole Hougen on July

20 5, 2020.

21 IT IS SO ORDERED.

22

23 DATED: ___________             _________________________________________
                                  HONORABLE EDWARD J. DAVILA
24                                United States District Judge
25

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     TRIAL STIPULATION                             2
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